Case 2:04-CV-03003-BBD-tmp Document 34 Filed 06/30/05 Page 1 of 2 Page|D 20

IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN FILED ear

 
 

 

DISTRICT OF TENNESSEE, WESTERN DIVISION AT MEMPHIS -_., D,C_
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LUCILLE PITTMAN, by and iHO/L;,_»hg H
through her Next Friend and Attorney-in-Fact, CLE€X U,S indian
vroLA P. SYKES, M/D GF Ir§"`,¢¥,¢£,g;r,§;§?U/?I
Plaintiff,
v. NO. 04-3003-DP
JURY DEMANDED

l\/IOHAMAD .l. AKBIK, M.D.; et al.

Defendants.

 

ORDER GRANTING PLAINTIFF’S MOTION TO
AMEND THE SCHEDULING ORDER

 

lt having come before the Court on Plaintiff’s Motion to Amend the Scheduling
Order, and the Court having found no opposition to said motion, and further finding that
said motion is Well taken and should be granted, it is, hereby,

ORDERED, ADJUDGED AND DECREED, pursuant to FED. R. CIV. P. 16, that
the Scheduling Order shall be and hereby is amended to reflect that the parties shall have

additional time up to and including October 3, 2005, to tile motions to amend the

 

 

 

pleadings.
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United States Di-stfiet-€Uni't-Judge

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Notice of Distribution

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Honorable Bernice Donald
US DISTRICT COURT

